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              IN THE UNITED STATES DISTRICT COURTS
             FOR THE EASTERN DISTRICT OF KENTUCKY
                       LEXINGTON DIVISION


SHERRILL RAY ROGERS,

             Plaintiff,

v.                                         Case No. 5:22-cv-00029-DCR

INFILTRATOR WATER
TECHNOLOGIES, LLC WELFARE
PLAN; INFILTRATOR WATER
TECHNOLOGIES, LLC; AETNA
LIFE INSURANCE COMPANY; and
THE HARTFORD FINANCIAL
SERVICES GROUP, INC. D/B/A
THE HARTFORD,

             Defendants.


                  JOINT STIPULATION TO DISMISS
     INFILTRATOR WATER TECHNOLOGIES, LLC WELFARE PLAN,
           INFILTRATOR WATER TECHNOLOGIES, LLC, and
         THE HARTFORD FINANCIAL SERVICES GROUP, INC.


      Plaintiff Sherrill Ray Rogers and Defendants Aetna Life Insurance Company

(“Aetna”), The Hartford Financial Services Group, Inc. (“HFSG”), Infiltrator

Water Technologies, LLC (“Infiltrator”), and the Infiltrator Water Technologies,

LLC Welfare Plan (the “Plan”) (collectively, “Defendants”) stipulate as follows:
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      1.     The parties acknowledge that Aetna has issued a group policy to

Infiltrator Water Technologies, LLC (the “Policy”), which provides group short-

term disability (“STD”) benefits.

      2.     Defendants represent that the STD benefits offered by Infiltrator

under the Plan are insured by Aetna through the Policy.

      3.     Defendants further represent that HFSG is a holding company that did

not take any part in the administration of Plaintiff’s claim.

      4.     Therefore, Aetna will satisfy any judgment rendered in this action for

Plaintiff’s claim under 29 U.S.C. § 1132(a)(1)(B) and will not raise procedural

issues relating to the exclusion of Infiltrator, the Plan, or HFSG as defendants for

purposes of its defenses.

      5.     Further, the parties agree that Infiltrator, the Plan, and HFSG are not

necessary for the adjudication of the claims presented in this action and should be

dismissed without prejudice.

      6.     By this stipulation, the parties acknowledge that Aetna does not waive

or alter, in any way, any other of its available procedural or substantive defenses in

this litigation and specifically does not waive its right to contend that Plaintiff is

not entitled to any relief or recovery under the Complaint.
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      7.     The parties further agree that Plaintiff reserves the right to serve the

dismissed defendants at a later time if he needs to seek relief different than that

provided in the Policy issued by Aetna.

      The undersigned attorneys hereby consent to the form, content and entry of

the within Stipulation and agree that The Hartford Financial Services Group, Inc.,

Infiltrator Water Technologies, LLC, and the Infiltrator Water Technologies, LLC

Welfare Plan shall be removed as parties to this action:

s/ William B. Wahlheim, Jr.               s/ L. Dustin Riddle (w/ permission)
William B. Wahlheim, Jr.                  L. Dustin Riddle
(Pro hac vice motion to be filed)         FLYNT LAW OFFICES
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